               Case 2:15-cr-00084-PA Document 6 Filed 05/27/15 Page 1 of 1 Page ID #:52
                                                                                    FILED
                                                                                                CLERK, U.S. DISTRICT COURT
PROB 12
(Rev. 11/04)
                                                                                                       5/27/15
                                 United States District Court
                                                   for                                    CENTRAL DISTRICT OF CALIFORNIA
                                     CENTRAL DISTRICT OF CALIFORNIA                         BY: ___________________ DEPUTY

U.S.A. VS. Donye Marcell Mitchell, Sr.                                           Docket No.: CR15-00084-PA

                           Petition on Probation and Supervised Release (Modification)

        COMES NOW MICHELLE A. CAREY, CHIEF PROBATION OFFICER OF THE COURT, presenting
an official report upon the conduct and attitude of Donye Marcell Mitchell, Sr. who was placed on supervision by
the Honorable GARLAND E. BURRELL, JR. sitting in the Court at Sacramento, California, on the 13th day of
April, 2012 who fixed the period of supervision at three years, and imposed the general terms and conditions
theretofore adopted by the Court and also imposed special terms and conditions as noted on the attached
Judgment and Commitment Order(s). Jurisdiction was transferred to the Central District of California on
February 23, 2015.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

On March 11, 2015, Donye Marcell Mitchell, Sr. submitted a urine specimen, which, upon analysis, returned
positive for cocaine use.

Further, Mr. Mitchell’s payments toward his restitution balance have been unsatisfactory. At this time, a
payment plan is warranted.

Mr. Mitchell and defense counsel consent to modification and waive a personal appearance before the Court.

PRAYING THAT THE COURT WILL ORDER Donye Marcell Mitchell, Sr., as a special condition of
supervision, shall pay the balance of the restitution in monthly installments of at least 10% of the offender's gross
monthly income, but not less than $150.00, whichever is greater, during the term of supervised release, which
shall commence within 30 days of this order; and shall participate in and successfully complete a cognitive-based
life skills program, as approved by the Probation Officer.




                     ORDER OF COURT                                   Respectfully,

Considered and ordered this 27th day of May , 2015                    /S/ RICHARD AN
and ordered filed and made a part of the records in the               U. S. Probation Officer
above case.
                                                                      Place: Inglewood, California
                                                                      Approved: /S/ PAUL B PARSONS
                  United States District Judge                                  Supervising U. S. Probation Officer
               HONORABLE PERCY ANDERSON
                                                                      Date: May 27, 2015
